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                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA

                                             CASE No. 0:19-cv-62235-RKA

 RYAN TURIZO,

        Plaintiff,

 vs.

 DEFENDERS, INC.
       Defendant.
 _________________________________/

                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        Plaintiff RYAN TURIZO, by and through undersigned counsel, pursuant to Rule

 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, hereby file this Notice Voluntary Dismissal

 with Prejudice of the above styled action.

        DATED: October 14, 2019

                                                               Respectfully Submitted,

                                                                /s/ Jibrael S. Hindi                                   .
                                                               JIBRAEL S. HINDI, ESQ.
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                                                               COUNSEL FOR PLAINTIFF


 .

                                        CERTIFICATE OF SERVICE
                                                                                                                PAGE | 1 of 2
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         The undersigned hereby certifies that on October 14, 2019, the foregoing was electronically

 filed with the Clerk of the Court using the CM/ECF system which will send a notice of electronic

 filing to all counsel of record.

                                                                Respectfully Submitted,

                                                                 /s/ Thomas J. Patti                                    .
                                                                THOMAS J. PATTI, ESQ.
                                                                Florida Bar No.: 118377




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